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           EXHIBITE
                     Case 6:23-cv-06451-FPG Document 1-5 Filed 02/22/23 Page 2 of 15


                                   BELDOCK LEVINE & HOFFMAN LLP
                                   9 9 PARK      AVENUE,           PH/26T>< FLOOR

                                                  NEW YORK, N. Y. 10016

JONA THAN MOORE                                      TEL: 12121 490- 0400                  COUNSEL
OAVIOB,RANKIN                                        FAX: <2121 211 - seao                 BRUCE E. TRAUNER
WN A OROUBI                                           'NESSITE: blhny,oom                 PETERS. MATORIN

MARC A, CANNAN                                                                            KAREN L DIPPOLD

CYNTHIA ROLLINGS                                                                          MARJORY D. ~·IELDS

JONATHAN K. POLLACK                                                                       EMILY JANE GOODMAN

HENRY A . OLUGACZ                                                                            I.JUSTICE. NYS SJPREMC COURT, RET.I

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MYRON BELDOCK 11929·2016)
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ELLIOT L . HOFF'MAN 11929-20161
                                                                                            RCF'; 828900.00000



                                                                                           WRITER'S DIRECT DIAL :
                                                                                                   212-277-5824
                                                       May 11, 2022


        VIA E-MAIL

        FOIA/PA Section                                              USP Thomson
        Office of General Counsel, Room 924                          U.S. Penitentiaiy
        Federal Bureau of Prisons                                    Federal Bureau of Prisons
        320 First Street, N.W.                                       1100 One Mile Road
        Washington, DC 20534                                         Thomson, IL 61285
        BOP-OGC-EFOIA-S@bop.gov                                      TOM-ExecAssistant@bop.gov

                           Re:     Freedom of Information Act Appeal - Request for records pe1·taining
                                   to Decedent Bobby Everson, Reg. No. 14009-052, FOIA No. 2022-
                                   01789

        Dear FOIA Officer:

               My office is counsel to Ms. Sabrina Davis Everson (the "Requestor"). I am writing to
        appeal the Federal Bureau of Prisons' ("BOP") constrnctive denial ofa Janua1y 11, 2022 request
        made by Sabrina Davis Everson pursuant to the Freedom of Information Act ("FOIA"), 5 U.S.C.
        § 552 et seq. ("the Request").

               The Request was submitted to the Federal Bureau of Prisons ("BOP") via e-mail on Januaiy
        11, 2022 and it requested:

              •     All documents concerning Bobby Everson including but not limited to his medical
                    records, mental health records, complete inmate file, records from his entire time in the
                    Federal Bureau of Prison's ("BOP") custody;

              •     All documents concerning assaults, uses of force, and/or unusual incidents involving
                    Bobby Everson. This request applies equally to assaults and/or batteries by BOP staff or
         Case 6:23-cv-06451-FPG Document 1-5 Filed 02/22/23 Page 3 of 15

BELDOCK LEVINE & HOFFMAN LLP

FOIA Officer
May 11, 2022
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        incarcerated individuals; and

    •   All documents concerning the death of Bobby Everson, and/or any investigation into his
        death, including medical documents, incident repo1ts, after action repo1is, documents or
        communications to external agencies such as the Office of Inspector General ("OIG") or
        the United States Attorney's Office ("USAO").

        See Exhibit ("Exh.") 1, Janua1y 11, 2022 FOIA Request.

       On January 21, 2022, BOP issued an acknowledgment letter and issuing a ten-day
extension to Februa1y 10, 2022 to respond to the request as provided by statute. See Exh. 2, Januaiy
21, 2022 BOP Acknowledgement Letter. On Februa1y 10, 2022, BOP failed to respond. On
Februaiy 17, 2022, counsel to Requestor submitted a letter to BOP by e-mail requesting a
timeframe for production of the requested records. See Exh. 3, Februa1y 17, 2022 Requestor Letter.
On Februa1y 17, 2022, BOP responded via e-mail and stated, "We are unable to provide an
expected date for completion." See Exh. 4, Februaiy 17, 2022 BOP Letter.

        To date, Ms. Everson has received no documents in response to her request.

        Under FOIA, an agency must dete1mine, "within twenty working days, whether or not to
comply with a FOIA request." Brennan Ctr. for Justice at NY Univ. Sch. ofLaw v. United States
Dep't of State, 300 F. Supp. 3d 540, 546 (S.D.N.Y. 2018) (internal quotations omitted); 5 U.S.C.
§ 552(a)(6)(A)(i) ("Each agency, upon any request for records ... shall detern1ine within 20 days
... after the receipt of any such request whether to comply with such request and shall immediately
notify the person making such request of such dete1mination and the reasons therefor. . . ."). If the
agency cannot produce the records within 20 days, the agency may request an extension of not
"more than ten working days." 5 U.S.C. § 552(a)(6)(B)(ii). All extensions of the time to respond
must be made "by written notice to the person making such request setting forth . .. the date on
which a dete1mination is expected to be dispatched." 5 U.S.C. § 552(a)(6)(B)(i).

        " An agency's failure to comply with [the statute's] time limits may be treated as
'constructive exhaustion' of administrative remedies," and authorizes "the requester to seek judicial
review immediately." Brennan Ctr. for Justice at NY Univ. Sch. ofLaw v. United States Dep't of
State, 300 F. Supp. 3d 540, 546 (S.D.N.Y. 2018) (citing 5 U.S.C § 552(a)(6)(C)(i)).

        More than twenty business days have passed since the Request was sent to the Freedom of
Inf01mation Act Officer. More than ten days have passed since the extension requested by BOP
on Januaiy 21, 2022. The agency's February 17, 2022 letter did not meet the standards of a
pe1mitted extension under 5 U.S.C. § 552(a)(6)(B)(i) as it failed to provide any date on which a
dete1mination is expected to be dispatched. The agency has therefore failed to comply with
statutory time limits and has constructively denied the Request. Please consider this our internal
appeal, submitted within 90 days of BOP's constructive denial of the Request.
        Case 6:23-cv-06451-FPG Document 1-5 Filed 02/22/23 Page 4 of 15

BEL D OCK LEVINE & HOFFMAN LLP

FOIA Officer
May 11, 2022
Page 3

       Please respond to this internal appeal within the statutorily proscribed twenty business days
from receiving this appeal. 5 U.S.C § 552(a)(6)(A)(ii). If the records are denied on appeal, please
explain the reasons for the denial fully in writing as required by law.


                                                     Respectfully submitted,




                                                     Beldock Levine & Hoffman LLP
                                                     99 Park Ave. , PH/26th Floor
                                                     New York, NY 10016
                                                     Attorneys for Requestor
                        Case 6:23-cv-06451-FPG Document 1-5 Filed 02/22/23 Page 5 of 15


                                      BELDOCK LEVINE               & HOFFMAN LLP
                                      99   PARK   AVENUE,            PH/26~ "   FLOOR

                                                   NEW YORK, N .Y. 10016

JONA THAN MOORE                                       TEL : 12121 490 - 0400               COUNSEL
CAVIC 8, RANKIN                                       FAX: 1212) 277-5880                  BRUCE E . TRAUNER
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MARC A, CANNAN                                                                             KAREN L DIPPOLD

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JONATHAN K. POLLACK                                                                        EMILY JANE GOODMAN

HENRY A. OLUGACZ                                                                             I.JUSTICE. NYS 9.Jf'REMC COURT. RET.I

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MYRON BELDOCK ll9.i!9·.i!Ol6)                         Januaiy 11 , 2022
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ELLIOT L. HOFFMAN 11929-20161
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                                                                                           WRITER'S DIRECT D IA L :
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         VIA EMAIL

         FOWPA Section                                                 USP Thomson
         Office of General Counsel, Room 924                           U.S. Penitentia1y
         Federal Bureau of Prisons                                     Federal Bureau of Prisons
         320 First Street, N .W.                                       1100 One Mile Road
         Washington, DC 20534                                          Thomson, IL 61285
         BOP-OGC-EFOIA-S@bop.gov                                       TOM-ExecAssistant@bop.gov

                             Re:      Freedom of Information Act Request for records pertaining to
                                      Decedent Bobby Everson, Reg. No. 14009-052

         Dear FOIA Officer:

                 My name is David B. Rankin, and I am the attorney for Ms. Sabrina Davis Everson related
         to the death of her son, Mr. Bobby Everson Register No . 14009-052, DOB                   . We
         request the following :

                    •        All documents concerning Bobby Everson including but not limited to his
                             medical records, mental health records, complete inmate file, records from his
                             entire time in the Federal Bureau of Prison' s ("BOP") custody;

                    •        All documents concerning assaults, uses of force, and/or unusual incidents
                             involving Bobby Everson. This request applies equally to assaults and/or batteries
                             by BOP staff or incarcerated individuals; and

                    •        All documents concerning the death of Bobby Everson, and/or any investigation
                             into his death, including medical documents, incident repmts, after action repmts,
                             documents or communications to external agencies such as the Office of Inspector
        Case 6:23-cv-06451-FPG Document 1-5 Filed 02/22/23 Page 6 of 15

BELDOCK LEVINE & HOFFMAN LLP

Everson - FOIA BOP
Janmuy 11, 2022
Page2

               General ("OIG") or the United States Attorney' s Office ("USAO").

       We request these records be produced in electronic f01mat, if they are kept in that f01m
and note that the te1m "document" applies to records in both hard copy and electronic format.

       If this request is denied in whole or pa1t, we ask that you describe the nature of the
info1mation withheld and justify all deletions by reference to specific exemptions of the FOIA. We
expect you to release all segregable portions of othe1wise exempt matelial. We are open to
negotiating a modification to this request where production of all responsive documents would be
umeasonably voluminous.

        We fmther ask that all responsive records be produced as they are identified and gathered,
rather than delaying production until all responsive records are found. However, we rese1ve the
right to appeal a decision to withhold any inf01mation.

       If there are any costs incmTed with producing copies of the records requested, you have
our advance authorization to incur up to $500, which amount we will promptly reimburse. If the
fees exceed $500, please contact me before incuning the expense.

       Enclosed with this letter are an authorization of representation, Fo1m BP - A0301
authorizing the release of confidential info1mation, Fo1m BP-A621 autho1izing the release of
medical info1mation, and ce1tificates of identity for myself and Ms. Sabrina Everson.

       Thank you for your cooperation.

                                                            Sincerely,




                                                            David B. Rankin
                                                            Partner
           Case 6:23-cv-06451-FPG Document 1-5 Filed 02/22/23 Page 7 of 15




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To:        FO I/\/PA Section I                                                         FAX: li?l.?I S57•0~65

           Ortice or Gl'ncral Counsel. Room 924
           f cdernl Bureau or Prisons
           3 20 First Street. . W.
           Washington. DC 205'.l-t

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           I~ ~] ) ~                   Mother of Decedent Bobby l:Yerson. Reg. No. 14009-052.
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       I hereby aut horiic 1h1: bdow idcnti tied attorneys to represent me. for the purposes of
obtaining my <l~ceased snn·s 1-x:rsnnal records. This includes. but is not limited to; criminal
n:clmb. medical records. mcnt.il hcahh records. records obtained through Freedom of
Information Act (FOIA) reqw:sts. education records. and cmployme111 records.

                  Da\'id B. R,mkin. bl].
                  Regina Power. Esq.
                  Bddock Levine & Iloffman LLP
                  99 Park .1\ vcm1c. Pl 1126th floor
                  Ne\\ York. N1.·w York 10016
                  T: 212-277-5825 and 2 12-277-5892
                  F: 212-277-5880
                  drankin@ blhny.com
                  rpowcrs1u blhny.1.:0111

         further authori/e Mr. lb11kin. \ls. Powers. or parakgal ,\higail Robinson. working on
their hdial r. to correspond with any and all rclC\'nnt rcc,wds custodians necessary 10 obtain my
dcn.·ased son· s personal reco rds.




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AUTHORIZATION TO RELEASE CONFIDENTIAL INFORMATION

               TO: D:nid 8. Rankin. !:sq. and R\.·!!ina Po,\crs. Esq . l>fl3ELDOCK LEVJNI-' & IIOFFJ\1 ,\ ~. LLP
                              99 Park f\,c m1l'. PH '26th Flour. '.\~w York. :",;c\\' Yuri,; 10(11(,


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AUTHORIZATION FOR RELEASE OF MEDICAL INFORMATION

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 Deliver R@cords To :                                                                         {Institution Address, Fax number)

        David 8 . Rankin. BELDOCK LEVINE & HOFF MAN . 99 Park Avenue PH/26th Floor. New Yor , NY 10016

        Phone: 212-277-5825, Fax: 212-277-5880. Email: drankin@blhny.com

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     David B. Rankin , BELDOCK LEVINE & HOFFMAN , LLP, 99 Park Avenue. PH/26th Floor , New York , New York 10016

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                   Case 6:23-cv-06451-FPG Document 1-5 Filed 02/22/23 Page 11 of 15


U.S Deparlment or Justice                                              Certification of Identity


                                                                                                                      FORM APPROVED 0MB       0 . l 103-0016
                                                                                                                      EXPIRES 03/31/17




Privacy Act Statement. In accordance with 28 CFR Section 16.4 l(d) personal data sufficient to identify the individuals submitting requests by
mail under the Privacy Act of 1971, 5 U.S.C. Section 552a, is required. The purpose of this solicitation is to ensure that the records of individuals
who are the subject of U.S. Department of Justice systems of records are not wrongfully disclosed by the Department. Requests will not be
processed if this information is not furnished. False information on this form may subject the requester to criminal penalties under 18 U.S.C.
Section 1001 and/or 5 U.S.C. Section 552a(i)(3).

Public reporting burden for this collection of information is estimated to average 0.50 hours per response, including the time for reviewing
instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Suggestions for reducing this burden may be submitted to the Office of Information and Regulatory Affairs, Office of Management
and Budget, Public Use Reports Project (1103-0016), Washington, DC 20503.

Full Name of Requester 1 _ __ David
                              D_a_v_id_ B.
                                        B_.Rankin
                                           R
                                           _ a_
                                              nk_i_
                                                  n _ _ _ _ _ _ _ _ _ __


Citizenship Status 2 _ _Citizen
                        C
                        _i_ti_
                             ze_n_ _ _ __ _ __                           Social Security Number 3

Current Address                                     99 Park Avenue, PH/26th Floor, New York, NY 10016
                       -------- - -------- - -----------------------
Date of Birth                                                                                        Portland,
                                                                                                     Portland, Oregon
                                                                                                               Oregon
                                            - - - -- - - - - Place of Birth --------- - -- -- ------
OPTIONAL: Authorization to Release Information to Another Person

This form is also to be completed by a requester who i.5 authorizing inform at.ion relating to himself or herself to he relea<,ed to another person.

Further, pursuant to 5 U.S.C. Section 552a(b), I authorize the U.S. Department of Justice to release any and all information relating to me to:
   David B. Rankin, BELDOCK LEVINE & HOFFMAN, LLP, 99 Park Avenue, PH/26th Floor, New York, New York 10016

                                                                 Print or Type Name

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct, and that I am the person
named above, and I understand that any falsification of this statement is punishable under the provisions of 18 U.S.C. Section 1001 by a fine of
not more than $10,000 or by imprisonment of not more than five years or both, and that requesting or obtaining any record(s) under false
prc1c11, cs i pun l11tblc under the provisions of 5 U.S.C. 552n(i)(3) by n fine of not more than $5,000.

  ignatur •"     ----'e-=----?Si
                             - - _.}.,________                                                        Date    _/-+--/ 1~/-i/----=2"--2_ ___ _
     1Name of individual who is the subject of the rccord(s) sought.
     2
       Individual submitting a request under the Privacy Act of 1974 must be either "a citizen of the United States or an alien lawfully
admitted for permanent residence." pursuant to 5 U.S .C. Section 552a(a)(2). Requests wlll be processed as Freedom oflnformation Act
1wp1r.stc; p11rsm111t to 'i 11.S.C:. Sr.r.tinn .'i.'i7., rnthr.r thnn l'rivncy Act requests, for individuals who o.re not {Jnited Sto.tes citizens or aliens
l~wfully, dmlll J r r p rm ncnt resid nee.
     :iProviding yours ci:11 s curity number is voluntary. You are asked to provide your social security number only to facilitate the
identification of records relating to you. Without your social security number, the Uepnrtment mny be unable to locate any or all records
pertaining to you.
     4
       Signature of individual who is the subject of the record sought.

                                                                                                                                            FORM DOJ-361
       Case 6:23-cv-06451-FPG Document 1-5 Filed 02/22/23 Page 12 of 15




                                                    U.S. Department of Justice
                                                    Federal Bureau of Prisons

                                                    North Central Regional Office



Office of the Regional Counsel                      400 State Avenue
                                                    Tower 11, Suite 800
                                                    Kansas City, KS 66101


                                                                        January 21 , 2022
Abigail Robinson
Beldock Levine & Hoffman LLP
99 Park Avenue
PH 26th Floor
New York, NY 10016

Dear Requester:

The Federal Bureau of Prisons (BOP) received your Freedom of Information Act/Privacy
Act (FOIA/PA) request. Your request has been assigned a number and forwarded to the
processing office noted below . Please make a note of the request number and
processing office as you w ill need to include it in any correspondence or inquiry
regarding your request for records pertaining to Everson, Bobby #14009-052.

FOIA/PA Request Number:           2022-01789
Processing Office:                NCR

The time needed to complete our processing of your request depends on the complexity
of our records search and the volume and complexity of any records located. Each
request is assigned to one of three tracks: simple, complex, or expedited. Due to the
large number of FOIA/PA requests received by BOP and the limited resources available
to process such requests, BO P handles each request on a first-in , first-out basis in
relation to other requests in the same track. Your request was assigned to the complex
track and placed in chronological order based on the date of receipt.

We determined unusual circumstances exist as the documents responsive to your
request must be searched for and collected from a field office, and/or the documents
responsive to your request are expected to be voluminous and will require significant
time to review, and/or your request requires consultation with at least one other agency
with a substantial interest in your request. Because of these unusual circumstances, we
are extending the time limit to respond to your request for the ten additional days
provided by the statute. Processing complex requests may take up to nine months.
Pursuant to 28 C.F.R. § 16.5(b) and (c), you may narrow or modify your request in an
effort to reduce the processing time.
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Pursuant to 28 C.F.R. § 16.10, in certain circumstances we are requ ired to charge fees
for time spent searching for or duplicating responsive documents. If we anticipate your
fees w ill be in excess of $25.00 or the amount you have indicated you are w illing to pay,
we will notify you of the estimated amount. At that time, you w ill have the option to
reformulate your request to reduce the fees. If you requested a fee waiver, we w ill make
a decision whether to grant your request after we determine w hether fees w ill be
assessed for this request.

If you have any questions or wish to discuss reformulation or an alternative time frame
for the processing of your request, please feel free to contact the NCR at 913-551-1004
or the Federal Bureau of Prisons' (BOP) FOIA Public Liaison, Mr. C. Darnell Stroble at
202-616-7750, 320 First Street NW, Suite 936, Washington DC 20534, or
ogc_efoia@bop.gov. You can also check the status of your request on line at
http://www.bop.gov/Publiclnfo/execute/foia.

Additionally, you may contact the Office of Government Information Services (OGIS) at
the National Archives and Records Admin istration to inquire about the FOIA mediation
services they offer. The contact information for OGIS is as follows: Office of
Government Information, Services, National Archives and Records Administration,
Room 2510, 8601 Adelphi Road, College Park, Maryland 20740-6001 ; e-mail at
ogis@nara.gov; telephone at 202-741-5770; tol l free at 1-877-684-6448; or facsimile at
202-741-5769.

Sincerely,




Mary A. Noland
Regional Counsel
        Case 6:23-cv-06451-FPG Document 1-5 Filed 02/22/23 Page 14 of 15


From:            Abigail Robinson
                                    11
To:              "ogc efoia@bop OOV
Cc:              David B Rankin: Regina powers
Subject:         Everson - FOIA No. 2022-01789 - expected time line?
Date:            Thursday, February 17, 2022 1:34:00 PM
Attachments:     Everson - 2022.01.11 FOIA to BOP.odf
                 Everson - 2022 01 21 ack !tr FOIA No 2022-01789 rxff


Greetings:


On January 11, 2022, my office submitted the attached FOIA request and on January 21, 2022, we
received the attached acknowledgement letter. I write to respectfully request a t imeframe on when
we can expect to receive the responsive records.


Thank you,


Abigail L. Robinson (she/ her) Senior Paralegal
                                         J


Beldock Levine & Hoffman LLP J N ew York
99 Park Avenue, P H / 26th Fl. I New York, NY 10016
Tel: (929) 335-3217 I Fax: (212) 277-5880
ARobinson@blhny.com Ihttp: //www.blhny.com


This message may contain privileged material. If you are not the intended recipient, please return
it.
        Case 6:23-cv-06451-FPG Document 1-5 Filed 02/22/23 Page 15 of 15


From:            NCR-FOIA-S mop)
To:              Abigail Robinson
Subject:         Re: Everson - FOIA No. 2022-01789 - expected time line?
Date:            Thursday, February 17, 2022 5:08:42 PM


Good afternoon,


Currently, records custodians are searching for reco rds responsive to your request. Please
note FOIA requests are processed in the order in wh ich they are received . We are unable to
provide an expected date for completion.


Thank you



From: Abigail Robinson <ARobinson@BLHNY.COM>
Sent: Thursday, February 17, 2022 6:36 PM
To: BOP-OGC-EFOIA-S (BOP) <BOP-OGC-E FOIA-S@bop.gov>
Cc: David B. Ran kin <DRankin@BLHNY.COM>; Regina Powers <RPowers@B LHNY.COM>
Subject: [ EXTERNAL] Everson - FO IA No. 2022-01789 - expected time line?


Greet ings:


On Janua ry 11, 2022, my office submitted t he attached FOIA request and on January 21, 2022, we
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Thank you,


Abigail L. Robinson (she/ her) I Senior Paralegal
Beldock Levine & Hoffman LLP I N ew York
99 Park Avenue, PH/ 26th Fl I New York, NY 10016
Tel: (929) 335-3217 I Fax: (212) 277-5880
ARobinson@blhny.com Ihttp: //www.b1hny.com


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it.
